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                                      #:2000


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11                          UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                   SOUTHERN DIVISION
14
        JOHN C. EASTMAN                         Case No. 8:22-cv-00099-DOC-DFM
15

16                 Plaintiff,                   DECLARATION OF JOHN WOOD IN
                                                SUPPORT OF CONGRESSIONAL
17      vs.                                     DEFENDANTS’ OPPOSITION TO
                                                PLAINTIFF’S PRIVILEGE
18      BENNIE G. THOMPSON, et al.,             ASSERTIONS
19
                   Defendants.                  Date:     March 8, 2022
20                                              Time:     9:00 a.m.
                                                Location: Courtroom 9D
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                            DECLARATION OF JOHN F. WOOD
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                                      #:2001


 1 I, John Wood declare as follows:
 2         1.    I am Senior Investigative Counsel and Of Counsel to the Vice Chair, Select
 3 Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of

 4 Representatives.
 5         2.    I make this declaration in support of Congressional Defendants’ Brief in
 6 Opposition to Plaintiff’s Privilege Assertions.
 7         3.    Attached hereto as Exhibit A is a true and accurate copy of the transcript of
 8 the deposition of John Eastman by the Select Committee to Investigate the January 6th
 9 Attack on the U.S. Capitol on December 9, 2021.

10         4.    Attached hereto as Exhibit B is a true and accurate copy of certain pages
11 from the interview of Richard Peter Donoghue by the Select Committee to Investigate the
12 January 6th Attack on the U.S. Capitol on October 1, 2021.
13         5.    Attached hereto as Exhibit C is a true and accurate copy of certain pages
14 from the interview of Jeffrey A. Rosen by the Select Committee to Investigate the
15 January 6th Attack on the U.S. Capitol on October 13, 2021.

16         6.    Attached hereto as Exhibit D is a true and accurate copy of certain pages
17 from the deposition of Jason Miller by the Select Committee to Investigate the January
18 6th Attack on the U.S. Capitol on February 3, 2022.
19         7.    Attached hereto as Exhibit E are true and accurate copies of certain
20 documents produced by the National Archives and Records Administration (“NARA”) to
21 the Select Committee to Investigate the January 6th Attack on the U.S. Capitol.

22         8.    Attached hereto as Exhibit F is a true and accurate copy of certain pages
23 from the deposition of Greg Jacob by the Select Committee to Investigate the January 6th
24 Attack on the U.S. Capitol on February 1, 2022.
25         9.    Attached hereto as Exhibit G is a true and accurate copy of certain pages
26 from the deposition of Keith Kellogg, Jr. by the Select Committee to Investigate the
27 January 6th Attack on the U.S. Capitol on December 14, 2021.

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                            DECLARATION OF JOHN F. WOOD
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     Case 8:22-cv-00099-DOC-DFM Document 160-3 Filed 03/02/22 Page 3 of 4 Page ID
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 1         10.   Attached hereto as Exhibit H is a true and accurate copy of a document
 2 produced by NARA to the Select Committee to Investigate the January 6th Attack on the
 3 U.S. Capitol.

 4         11.   Attached hereto as Exhibit I is a true and accurate copy of certain pages
 5 from the deposition of Marc Short by the Select Committee to Investigate the January 6th
 6 Attack on the U.S. Capitol on January 26, 2022.
 7         12.   Attached hereto as Exhibit J is a true and accurate copy of certain pages
 8 from the deposition of Benjamin Williamson by the Select Committee to Investigate the
 9 January 6th Attack on the U.S. Capitol on January 25, 2022.

10         13.   Attached hereto as Exhibit K is a true and accurate copy of an email from
11 John Eastman (via his Chapman University email account) to Gregory Jacob on January
12 5, 2021, 7:29 PM MST, along with the attachment thereto, produced to the Select
13 Committee to Investigate the January 6th Attack on the U.S. Capitol as Chapman005235
14 and Chapman005236.
15         14.   Attached hereto as Exhibit L is a true and accurate copy of an email from
16 John Eastman (via his Chapman University email account) to Gregory Jacob on January
17 6, 2021, 12:25 PM MST, produced to the Select Committee to Investigate the January 6th
18 Attack on the U.S. Capitol as Chapman005379.
19         15.   Attached hereto as Exhibit M is a true and accurate copy of an email from
20 John Eastman (via his Chapman University email account) to Gregory Jacob on January
21 6, 2021, 4:45 PM MST, produced to the Select Committee to Investigate the January 6th

22 Attack on the U.S. Capitol as Chapman005442.
23         16.   Attached hereto as Exhibit N is a true and accurate copy of an email from
24 John Eastman (via his Chapman University email account) to Gregory Jacob on January
25 6, 2021, 9:44 PM MST, produced to the Select Committee to Investigate the January 6th
26 Attack on the U.S. Capitol as Chapman005479.
27         I declare under penalty of perjury that the foregoing is true and correct, to the best
28 of my knowledge.
                             DECLARATION OF JOHN F. WOOD
                                                  2
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                                      #:2003


 1         Executed on March 2, 2022, in Washington, DC.
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 3
                                              /s/ John F. Wood
                                              John F. Wood
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                           DECLARATION OF JOHN F. WOOD
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